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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 ANTHONY BACCARI on behalf of                     :
 themselves and others similarly situated,        :
                                                  :
        Plaintiff,                                :   Case No. 1:20-cv-11510-DJC
                                                  :
 v.                                               :
                                                  :
 SUNPATH, LTD. and LAND & SKY                     :
 INVESTMENTS LLC d/b/a                            :
 AFFORDABLE AUTOMOTIVE                            :
 SOLUTIONS                                        :
                                                  :
        Defendants.                               :
                                                  :
                                                  :
                                              /


PLAINTIFF’S NOTICE OF CONSTITUTIONAL QUESTION PURSUANT TO RULE 5.1

       NOW comes Plaintiff, Anthony Baccari, by and through undersigned counsel, and hereby

give notice in accordance with Fed. R. Civ. P. 5.1(a)(1) that the defendants in this action

challenged the constitutionality of section (b)(1) of the Telephone Consumer Protection Act, 47

U.S.C. § 227.

       The defendants raise this constitutional question in their recently filed Motion to Dismiss,

but did not file or provide proper notice of this question in accordance with Fed. R. Civ. P. 5.1.

       Pursuant to Rule 5.1(a)(2), the undersigned hereby certifies that this notice together with

a copy of the aforementioned motion was served on the Attorney General of the United States by

sending it via certified mail on November 17, 2020.
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                                                       Respectfully submitted,

                                                         /s/ Anthony I. Paronich
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 17, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification to all counsel of

record.

                                                /s/ Anthony I. Paronich
                                                Anthony I. Paronich
